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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

LISVANIA VIERA,                              )
                                             )
               Plaintiff                     )
                                             )       Civil Action No. 3:18CV-00363-JHM
vs.                                          )
                                             )
JOHNSON CONTROLS, INC.,                      )
                                             )
               Defendant                     )

                      DEFENDANT’S ANSWER AND AFFIRMATIVE
                       DEFENSES TO PLAINTIFF’S COMPLAINT

       Defendant, Johnson Controls, Inc. (“Defendant”), by its counsel, and for its Answer and

Affirmative Defenses to Plaintiff’s Complaint, states as follows:

       As to the specific paragraphs of Plaintiff’s Complaint, Defendant makes the following

response to the corresponding numbered paragraphs of the Complaint:

                                JURISDICTION AND VENUE

       1.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 1 and, therefore, denies them.

       2.      Defendant admits the allegations contained in Paragraph 2.

       3.      Defendant admits the allegations contained in Paragraph 3. Defendant further

states that at all times relevant to the allegations in the Complaint, Plaintiff was an employee of

only Yanfeng Automotive Interior Systems II, LLC (“Yanfeng”).

       4.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 and, therefore, denies them.

       5.      The allegations in Paragraph 5 are legal conclusions to which no answer is

required.
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       6.      The allegations in Paragraph 6 are legal conclusions to which no answer is

required.

       7.      The allegations in Paragraph 7 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       8.      The allegations in Paragraph 8 are legal conclusions to which no answer is

required.    To the extent an answer is required, denied.         Defendant further states that it

specifically denies that Plaintiff has been damaged in any manner and denies that she is entitled

to the relief requested or any other relief. Defendant further specifically denies that Plaintiff has

sustained any injury, damage or loss, if any, by reason of any act, omission, or negligence on the

part of Defendant.

                                              FACTS

       9.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 9 and, therefore, denies them.

       10.     Defendant denies the allegations contain in Paragraph 10. Defendant further

states that Plaintiff was hired on August 6, 2012 as a Molding Operator.

       11.     The allegations in Paragraph 11 are legal conclusions to which no answer is

required. To the extent an answer is required, denied. Defendant further states that Plaintiff was

terminated for failing to comply with Yanfeng’s attendance policy.

       12.     Defendant lacks sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 12 and, therefore, denies them. Defendant further

states that Plaintiff was granted five days of Emergency Vacation – January 10-17, 2017 – to

care for her daughter. Defendant further states that since Plaintiff’s daughter was over 18 years

of age at the time, Plaintiff’s absence from work did not qualify for leave under the Family

Medical Leave Act.
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         13.      The allegations in Paragraph 13 are legal conclusions to which no answer is

required.      To the extent an answer is required, Defendant lacks sufficient knowledge and

information to form a belief as to the truth of the allegations and, therefore, denies them.

         14.      The allegations in Paragraph 14 are legal conclusions to which no answer is

required. To the extent an answer is required, denied. Defendant further states that Plaintiff did

not file any workers’ compensation claim.

         15.      Defendant admits that Plaintiff returned to work on or around May 10, 2017.

         16.      The allegations in Paragraph 16 are legal conclusion to which no answer is

required. To the extent an answer is required, denied. Defendant further states that Plaintiff

made no complaints to human resources regarding the allegations contained in Paragraph 16.

         17.      The allegations in Paragraph 17 are legal conclusion to which no answer is

required. To the extent an answer is required, denied.

         18.      The allegations in Paragraph 18 are legal conclusion to which no answer is

required. To the extent an answer is required, denied.

         19.      The allegations in Paragraph 19 are legal conclusion to which no answer is

required. To the extent an answer is required, Defendant only admits that Plaintiff’s employment

was terminated on or about May 31, 2017. Defendant further states that all of the remaining

allegations in Paragraph 19 are denied and that Plaintiff was terminated for violating Defendant’s

attendance policy.

         20.      Defendant states that Plaintiff did file a charge of discrimination with the Equal

Employment Opportunity Commission, which was given the designation Charge No. 474-2017-

00714.      Defendant lacks knowledge and information sufficient to form a belief as to the

remaining allegations contained in Paragraph 20 and, therefore, denies them. Defendant further



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states that Plaintiff’s EEOC charge was filed under Title VII of the Civil Rights Act on the basis

of national origin discrimination only.

       21.     The allegations in Paragraph 21 state a legal conclusion to which no answer is

required. To the extent an answer is required, denied.

       22.     The allegations in Paragraph 22 state a legal conclusion to which no answer is

required. To the extent an answer is required, denied.

                                  COUNT I
              DISCRIMINATION IN VIOLATION OF 42 U.S.C. §2000e-2(A)

       23.     The allegations in Paragraph 23 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       24.     The allegations in Paragraph 24 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       25.     The allegations in Paragraph 25 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       26.     The allegations in Paragraph 26 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

                                  COUNT II
                RETALIATION IN VIOLATION OF 42 U.S.C. §2000E-3(A)

       27.     The allegations in Paragraph 27 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       28.     The allegations in Paragraph 28 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       29.     The allegations in Paragraph 29 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.



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                                COUNT III
          DISCRIMINATION IN VIOLATION OF ADAAA 42 U.S.C. §12112(A)

       30.     The allegations in Paragraph 30 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       31.     The allegations in Paragraph 31 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       32.     The allegations in Paragraph 32 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

                                   COUNT IV
                     DISCRIMINATION IN VIOLATION OF KRS 344

       33.     The allegations in Paragraph 33 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       34.     The allegations in Paragraph 34 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       35.     The allegations in Paragraph 35 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

                                       COUNT V
                       RETALIATION IN VIOLATION OF KRS 344.280(1)

       36.     The allegations in Paragraph 36 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       37.     The allegations in Paragraph 37 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       38.     The allegations in Paragraph 38 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.




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                                        COUNT VI
                          RETALIATION IN VIOLATION OF KRS 342.197

      39.      The allegations in Paragraph 39 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

      40.      The allegations in Paragraph 40 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.1

                                   COUNT VII
               FMLA INTERFERENCE IN VIOLATION OF 29 U.S.C. § 2615(A)(L)

       46.     The allegations in Paragraph 46 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       47.     The allegations in Paragraph 47 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       48.     The allegations in Paragraph 48 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       49.     The allegations in Paragraph 49 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       50.     The allegations in Paragraph 50 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       51.     The allegations in Paragraph 51 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       52.     The allegations in Paragraph 52 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.




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   The Paragraph numbers 41-45 are missing from the Complaint and Defendant’s Answer corresponds to the
Paragraph numbers actually used in the Complaint as indicated.
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       53.     The allegations in Paragraph 53 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

                                      COUNT VIII
                     RETALIATION IN VIOLATION OF 29 U.S.C. §2615(A)(2)

       54.     The allegations in Paragraph 54 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       55.     The allegations in Paragraph 55 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

       56.     The allegations in Paragraph 56 are legal conclusions to which no answer is

required. To the extent an answer is required, denied.

                       ANSWER TO REMAINDER OF COMPLAINT

       The remaining paragraphs of the Complaint contain Plaintiff’s prayer for relief.

Defendant denies that Plaintiff is entitled to any relief. Defendant further specifically denies that

Plaintiff has been damaged in any manner and that she is entitled to the relief requested or any

other relief. Defendant further specifically denies that Plaintiff has sustained any injury, damage

or loss, if any, by reason of any act, omission, or negligence on the part of Defendant. Defendant

denies each and every remaining allegations of Plaintiff’s Complaint that it has not separately

and specifically admitted herein.

                             AFFIRMATIVE AND OTHER DEFENSES

       1.      Plaintiff’s Complaint, and each purported claim contained therein, fails to allege

facts sufficient to state a claim upon which relief may be granted.

       2.      Plaintiff’s Complaint, and each purported claim contained therein, fails to state a

claim upon which relief may be granted.

       3.      Plaintiff has named the wrong Defendant.

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       4.      Plaintiff is estopped from pursuing her claims by reasons of Plaintiff’s own

actions and course of conduct.

       5.      Plaintiff has waived her right, if any, to pursue the claims by reason of her own

actions and course of conduct.

       6.      Plaintiff’s claims are barred by the doctrine of laches.

       7.      Plaintiff’s claims are barred by the doctrine of unclean hands.

       8.      To the extent that any of the alleged wrongs were committed by Defendant’s

predecessor entities, any and all such claims are barred against Defendant in their entirety.

       9.      Plaintiff’s claims are barred because she was an at-will employee.

       10.     Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

       11.     Plaintiff’s alleged damages or claims are barred or substantially reduced because

Plaintiff has failed to mitigate the alleged damages, if any.

       12.     Plaintiff’s claims are barred, in whole or in part, because any recovery would

result in unjust enrichment.

       13.     Plaintiff’s claims do not rise out of an injury that was proximately caused by any

unlawful or illegal policy, procedure or action of Defendant.

       14.     Plaintiff’s claims are barred, in whole or in part, from recovery of damages as

alleged to the extent that she received any workers’ compensation benefits relating to her claims

or, alternatively, and such workers’ compensation benefits received by Plaintiff should be an

offset to any recovery in this action.

       15.     Plaintiff may be barred, in whole or in part, from recovery of damages as alleged

by the after-acquired evidence doctrine.

       16.     All actions taken by Defendant with regard to Plaintiff were taken in good faith.
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       17.      Defendant affirmatively asserts that it engaged in good faith efforts to comply

with the law.

       18.      Plaintiff’s claims are barred as all actions of Defendant were job-related and

consistent with business necessity.

       19.      Plaintiff’s claims are barred because she was terminated pursuant to a lawful, no-

fault attendance policy.

       20.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to take

advantage of any preventive or corrective opportunities provided by Defendant to avoid harm or

otherwise.

       21.      Plaintiff’s claims are barred because Plaintiff failed, in whole or in part, to

exhaust all available administrative remedies, and/or otherwise failed to comply with the

statutory prerequisites to bringing this action.

       22.      Plaintiff’s claims are barred in whole or in part because all decisions with respect

to Plaintiff were made by Defendant for legitimate, non-discriminatory, non-retaliatory and non-

pretextual reasons.

       23.      Defendant states that, even if Plaintiff is able to prove that a prohibited factor

motivated Defendant’s alleged employment action(s), which Defendant expressly denies, the

same action or omissions would have been taken even absent such motivation and, therefore,

Plaintiff’s claims must fail.

       24.      Plaintiff’s Complaint is barred, in whole or in part, because Defendant exercised

reasonable care to prevent and correct promptly any discriminatory or retaliatory conduct and

because Plaintiff unreasonably failed to properly take advantage of any preventive or corrective

opportunities provided by Defendant or to avoid harm otherwise.



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         25.    Plaintiff’s claims are barred, in whole or in part, because Defendant exercised

 reasonable care to prevent and correct promptly any alleged discriminatory and/or retaliatory

 behavior.

         26.    Plaintiff is not a qualified individual with a disability as defined by federal or state

 law.

         27.    Plaintiff failed to provide proper notice as required by the Family Medical Leave

 Act.

         28.    Plaintiff’s was not qualified for leave under the Family Medical Leave Act.

         29.    To the extent that Plaintiff makes allegations or claims under Title VII and failed

 to file a civil action within ninety (90) days after receiving notice of a right to sue from the

 EEOC, such allegations or claims are barred.

         30.    Plaintiff’s Title VII claims are barred to the extent that the allegations contained

 therein do not reasonably fall within the scope of claims made in any administrative charge

 timely filed with the EEOC.

         31.    Plaintiff’s Title VII claims are barred to the extent Plaintiff did not timely file a

 charge with the EEOC after the alleged discriminatory or retaliatory actions.

         32.    To the extent Plaintiff has filed for bankruptcy and failed to disclose her claims to

 the bankruptcy court, her claims are barred by estoppel.

         33.    Plaintiff’s disability discrimination claim is barred because she does not have a

 disability.

         34.    Plaintiff’s disability discrimination claim is barred because she was not

 considered to have a record of impairment that substantially limits a major life activity.

         35.    Plaintiff’s disability discrimination claim is barred as all actions of Defendant

 were job-related and consistent with business necessity.
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        36.      Any requested or necessary accommodation of Plaintiff would be unreasonable

 and impose an undue hardship on the operation of the business.

        37.      Plaintiff’s claims are barred because Plaintiff failed to request any

 accommodations.

        38.      Plaintiff has failed to plead sufficient facts to set forth a claim for punitive

 damages against Defendant.

        39.      Plaintiff has failed to allege facts sufficient to establish a claim of retaliation.

        40.      Defendant alleges that it has not engaged in intentional discrimination with

 respect to Plaintiff and Defendant therefore cannot be liable for punitive damages.

        41.      Plaintiff is not entitled to recover punitive damages because Defendant has made

 good faith efforts to prevent discrimination, retaliation or other statutory violations in its

 workplace.

        42.      Plaintiff is barred from recovering punitive damages because Defendant had in

 place a policy to prevent discrimination and retaliation in the workplace and made good faith

 efforts to implement and enforce that policy.

        43.      Plaintiff’s claims for punitive relief are barred, inasmuch as Plaintiff cannot show

 that Defendant showed willful misconduct, malice, reckless indifference, fraud, wantonness,

 oppression, or the entire want of care which would raise the presumption of indifference to

 consequences.

        44.      An award of punitive damages against Defendant would violate Defendant’s due

 process rights guaranteed by the Fourteenth Amendment to the United States Constitution.

        45.      An award of punitive damages against Defendant in this case would violate the

 equal protection provisions of the Fourteenth Amendment to the United States Constitution.



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        46.     Defendant reserves the right to add any additional affirmative defenses as they

 may become known.

        WHEREFORE, Defendant denies that Plaintiff is entitled to any relief and requests that

 Plaintiff’s Complaint be dismissed in its entirety with prejudice, that judgment be entered in

 Defendant’s favor and that Defendant be awarded its costs, attorneys’ fees, and any such other

 relief as this Court deems appropriate.

                                                    Respectfully Submitted,


                                                    /s/ Jeffrey D. Stamper
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                                                    Louisville, Kentucky 40222
                                                    502.515.3343 direct line
                                                    kyattys@aol.com
                                                    Attorney for Defendant




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 LISVANIA VIERA,                                  )
                                                  )
                Plaintiff                         )
                                                  )      Civil Action No. 3:18CV-00363-JHM
 vs.                                              )
                                                  )
 JOHNSON CONTROLS, INC.,                          )
                                                  )
                Defendant                         )


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 13, 2018, the foregoing “Defendant’s Answer and

 Affirmative Defenses to Plaintiff’s Complaint” was electronically filed with the Clerk of Court

 using the CM/ECF system, which will automatically send email notification of such filing to the

 following counsel of record for the Plaintiff:

 Zachary L. Taylor
 ztaylor@taylorcouchlaw.com

 Nina Couch
 couchlawpllc@gmail.com


                                                  /s/ Jeffrey D. Stamper
                                                  Jeffrey D. Stamper
                                                  Attorney for Defendant
